Case 1:21-cr-00118-RCL Document 140 Filed 10/07/22 Page 1of5

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on May 18, 2022

UNITED STATES OF AMERICA

Vv.

ERIC MUNCHEL and
LISA EISENHART

Defendants.

CRIMINAL NO. 1:21-cr-00118-RCL

VIOLATIONS:

18 U.S.C. § 1512(k)

(Conspiracy to Commit Obstruction)

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding)
18 U.S.C. §§ 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. §§ 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. §§ 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. §§ 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(1)(A)

(Unlawful Possession of a Dangerous
Weapon on Capitol Grounds or Buildings)
40 U.S.C. § 5104(e)(2)(B)

(Entering and Remaining in the Gallery of
Congress)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in a
Capitol Building

SUPERSEDING INDICTMENT

The Grand Jury charges that:
Case 1:21-cr-00118-RCL Document 140 Filed 10/07/22 Page 2 of 5

COUNT ONE
On or about January 6, 2021, within the District of Columbia and elsewhere, the
defendants, ERIC MUNCHEL and LISA EISENHART, knowingly and intentionally conspired
to corruptly obstruct, influence, and impede an official proceeding, that is, a proceeding before
Congress, in violation of 18 U.S.C. § 1512(k).

(Conspiracy to Commit Obstruction, in violation of Title 18, United States Code,
Sections 1512(k))

COUNT TWO

On or about January 6, 2021, within the District of Columbia and elsewhere, the
defendants, ERIC MUNCHEL and LISA EISENHART, attempted to, and did, corruptly
obstruct, influence, and impede an official proceeding, that is, a proceeding before Congress,
specifically, Congress’s certification of the Electoral College vote as set out in the Twelfth
Amendment of the Constitution of the United States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title

18, United States Code, Sections 1512(c)(2) and 2)

COUNT THREE

On or about January 6, 2021, within the District of Columbia, the defendant, ERIC
MUNCHEL, did knowingly enter and remain in a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President was and would be temporarily visiting, without lawful authority
to do so, and, during and in relation to the offense, did use and carry a deadly and dangerous
weapon, that is, a Taser.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(1),

(b)(1)(A))
Case 1:21-cr-00118-RCL Document 140 Filed 10/07/22 Page 3of5

COUNT FOUR

On or about January 6, 2021, in the District of Columbia, LISA EISENHART, did
knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,
and otherwise restricted area within the United States Capitol and its grounds, where the Vice

President was and would be temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building, in violation of Title 18, United States
Code, Section 1752(a)(1))

COUNT FIVE

On or about January 6, 2021, in the District of Columbia, the defendant, ERIC
MUNCHEL, did knowingly, and with intent to impede and disrupt the orderly conduct of
Government business and official functions, engage in disorderly and disruptive conduct in, and
within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
was and would be temporarily visiting, when and so that such conduct did in fact impede and
disrupt the orderly conduct of Government business and official functions, and, during and in
relation to the offense, did use and carry a deadly and dangerous weapon, that is, a Taser.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a
Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Sections

1752(a)(2), (b)(1)(A))

COUNT SIX
On or about January 6, 2021, in the District of Columbia, LISA EISENHART, did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and
official functions, engage in disorderly and disruptive conduct in and within such proximity to, a

restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
Case 1:21-cr-00118-RCL Document 140 Filed 10/07/22 Page 4of5

within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly

conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT SEVEN
On or about January 6, 2021, within the District of Columbia, the defendant, ERIC
MUNCHEL, did carry and have readily accessible a dangerous weapon, that is, a Taser, on the
United States Capitol Grounds and in any of the Capitol Buildings.

(Unlawful Possession of a Dangerous Weapon on Capitol Grounds or Buildings, in
violation of Title 40, United States Code, Section 5104(e)(1)(A))

COUNT EIGHT
On or about January 6, 2021, in the District of Columbia, the defendants, ERIC
MUNCHEL and LISA EISENHART, willfully and knowingly entered and remained in the
gallery of either House of Congress, without authorization to do so.

(Entering and Remaining in the Gallery of Congress, in violation of Title 40, United States
Code, Section 5104(e)(2)(B))

COUNT NINE
On or about January 6, 2021, in the District of Columbia, the defendants, ERIC
MUNCHEL and LISA EISENHART, willfully and knowingly engaged in disorderly and
disruptive conduct within the United States Capitol Grounds and in any of the Capitol
Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session
of Congress and either House of Congress, and the orderly conduct in that building of a hearing
before or any deliberation of, a committee of Congress and either House of Congress.

4
Case 1:21-cr-00118-RCL Document 140 Filed 10/07/22 Page 5of5

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States
Code, Section 5104(e)(2)(D))

COUNT TEN
On or about January 6, 2021, in the District of Columbia, the defendants, ERIC
MUNCHEL and LISA EISENHART, willfully and knowingly paraded, demonstrated, and
picketed in any United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
